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                                                                                           j/~~

 1    Louis A. Coffelt, Jr.                                                                ILE~

 2    General Delivery
 a    email: Louis.Coffelt@gmail.com                                           ~~t9 Ate -b PM 1= 5
 4    6771 Warner Avenue                                                                        ~,~~~NAC{~LIf.T
                                                                               ~C~.~TR~
                                                                                      SA            ~
 5    Huntington Beach, CA 92647
                                                                                 ~~
 6    Phone:(657)456-3112
 7    Pro Se
 8                                          UNITED STATES DISTRICT COURT
 9                                             for the Central District of California
10    Louis A. Coffelt, Jr.,                              )
11             plaintiff,                                 )              Case No. 8:19-cv-01351 JVS - DFM
12             -v-
13    Andrew Anagnost, defendant,                         )
14    Pascal W. Di Fronzo, defendant,                     )                     Date: September 9, 2019
15    Autodesk, Inc., defendant,                          )                     Time: 1:30 p.m.
16    Sony Pictures Imageworks, defendant,                 )                    Courtroom: lOC
17    Sony Corporation of America, defendant,)                                  Hon. James V. Selna
18    Larry Gritz, defendant.                             )
19

20

?~
                            NOTICE OF MOTION; AND MOTION TO STRIKE DEFENDANT
22                      AUTODESK,INC'S NOTICE OF RELATED CASES (Dkt. No. 11)
23

24

25    TO: Defendants, Andrew Anagnost, Pascal W. Di Fronzo, Autodesk, Inc.:
2b           PLEASE TAKE NOTICE that on Monday September 9 at 1:30 p.m. or as soon
27   thereafter as the matter may be heard before the Honorable James V. Selna, in Courtroom l OC of the
28   United States District Court of the Central District of California, located at 411 West 4th Street, Room


                            Coffelt -v- Anagnost et. al., Notice of Motion; and Motion to Strike Defendant's Notice
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 ~    1053, Santa Ana, CA 92701, Plaintiff Louis A. Coffelt, Jr. (Coffelt), hereby moves the Court for an

 2    Order to Strike Defendant Autodesk, Inc.'s Notice of Related Cases (Dkt. No. 11).

 3            This Motion is based on this Notice of Motion and the Memorandum of Points and

 4    Authorities, the pleadings, records, and files in this action, and such other written or oral arguments as

 5    may be presented at or before the time this Motion is taken under submission by the Court.

 ~                                                            Authorities
 ~    Fea. x. c~~. P. 11(b)(1)
 0
 9                              MEMORANDUM OF POINTS AND AUTHORITIES
m                                                            Introduction
~~            Defendants Andrew Anagnost, Pascal W. Di Fronzo, Autodesk, Inc.(Defendants) have

~2    intentionally filed incorrect facts in order to mislead this Court.

~~            On July 30, 2019, Defendants filed Defendant Autodesk Inc.'s Notice of Related Case (Dkt.
14    No 11)(Notice). Defendant's Notice contains incorrect facts in violation of Fed. R. Civ. P.

~5            For these reasons, and those following, Plaintiff, Louis A. Coffelt, Jr. (Coffelt) requests
16    the Court to strike Defendant's Notice from the record of this case.

~~            Defendants filed their Notice for the improper purpose of misleading this Court in violation

~8    of Fed. R. Civ. P. 11(b)(1).

~~    I. DEFENDANTS FILED NOTICE FOR AN IMPROPER PURPOSE

2~           The Complaint 8:19-cv-01351 JVS - DFM (Dkt. No. 1)(Complaint) contains explicit notice

27    of the basis for this action is events after closing of the previous complaint.

22           ("13. The present complaint is based on allegations that after November 13, 2018, defendants
23                 have executed acts ofcopyright infringement.')

24           See Complaint,¶ 13.

2~                   The Complaint contains 14 additional notice that the Complaint is based on events

2~           After November 13, 2018. See Complaint, ¶¶ 33, 36, 37, 54, 55, 64, 65, 74, 75, 84, 85,
27           95, 96, 97.




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 ~            In Louis A. Coffelt, Jr. a Autodesk, Inc., No. 5:17-cv-01684 FMO-SHK (Previous Case) the

 2    Court did not make any ruling on "CAD Reflective Intensity" Registration No. TXu002049564.

 3    Furthermore, Autodesk did not file any arguments directed to TXu002049564. The entire litigation in

 4    the Previous Case was directed to "Photorealistic Surface Shading by Reflective Intensity 2017" U.S.

 5    registration Na TX0008447381.
 6

 ~           For example, Mr. Coffelt complains that Autodesk did not address his

 g           infringement allegationsfor each and every one ofhis copyrighted works, but only

 9           Copyright No. TX-8-447-381. (Dkt. No. 42 at 7.) Mr Coffelt ignores that he only
10           attempted to provide an explanationfor that copyrighted work (Dkt. No. 35 at Ex.
11           121), but merely listed the copyright numbersfor his other works (id. at ¶¶ 11S-
12           180). As Autodesk explained in its Opening Brief, Mr Coffelt's mere listing of
13           those copyright numbers does not state a claim. (Dkt. No. 39 at 16 n.4.)
14           See Previous Case, Dkt. No. 48, p. 10.
15                   Defendant's Notice incorrectly and deceptively allege that the Complaint is based on

~~           the same events. See Notice, p 1,2.

~~                  In the Previous Case Defendants argued that the Second Amended Complaint merely

~$           listed TXu002049564. Now,in this case, Defendants contend the previous case was primarily

~9           directed to TXu002049564. Comparing Previous Case Dkt. No 48, p. 10 to Defendant's

~~           Notice p. 1,2 confirms Defendant deceptive intent.

21                  For the foregoing reasons, Defendants have intentionally filed contentions for the

2~           improper purpose of deceiving this Court.
23                                                               RELIEF

2~           For the foregoing reasons, Plaintiff Coffelt requests the Court to strike Defendant
25    Autodesk, Inc.'s Notice of Related Case (Dkt. No. 11)from the record of this case.
26

27   Date: August 6, 2019                               By:

2g                                                          Louis A. Coffelt, Jr. (Plaintiff, Pro Se)


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                                              CERTIFICATE OF SERVICE
  2           I,Louis A. Coffelt, Jr.,(Coffelt) hereby certify that on the 6th day of August, 2019,
  3    Coffelt caused to be served one copy of the foregoing document
  4      NOTICE OF MOTION; AND MOTION TO STRIKE DEFENDANT
  5      AUTODESK,INC'S NOTICE OF RELATED CASES (Dkt. No. 11) by U.S.
  5    mail, postage prepaid, to the following attorneys of record:
  7

  8    RICHARD S.J. HUNG(CA SBN 197425)
 9     rhung@mofo.com
10     MORRISON & FOERSTER LLP
11     425 Market Street
12     San Francisco, California 94105
13     Telephone:(415)268-7000
14     Facsimile:(415)268-7522
15                                                                                                                __

16     Date: August 6, 2019                                 By:
~7                                                              Louis A. Coffelt, Jr.
78                                                             Plaintiff
19                                                             Pro Se
2t}

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                        Coffelt -v- Anagnost et. al., Notice of Motion; and Motion to Strike Defendant's Notice
